Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 1 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 2 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 3 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 4 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 5 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 6 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 7 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 8 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 9 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 10 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 11 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 12 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 13 of 14
Case 2:04-cr-00185-MHT-CSC Document 172 Filed 05/10/05 Page 14 of 14
